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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

     UNITED STATES OF AMERICA,                     )
           Plaintiff,                              )
                                                   )
           vs.                                     )     1:11-cr-00085-JMS-KPF
                                                   )
     JOHN A. PETERS, III                           )     -01
     AARON HOLMES,                                 )     -02
      a/k/a AARON A. HOLMES,                       )
            Defendants.                            )

                                             ORDER

          Presently before the Court in this drug prosecution are the Defendants’ motions to sup-

 press evidence. [Dkts. 114; 117.] The Court held an evidentiary hearing on those motions on

 February 17, 2012, [dkt. 149], and now issues its findings of fact and conclusions of law.1

                                        FINDINGS OF FACT

          In making the findings that follow, the Court has considered the testimony, and the de-

 meanor, of the witnesses who testified at the evidentiary hearing: Officer Christopher Borgmann

 of the Greenfield Police Department, Deputy Nicholas (Nick) Ernestes of the Hancock County

 Sheriff’s Department, and Officer David (Jeff) Glover of the Richmond Police Department. The

 Court has also considered the extent to which their testimony is consistent with the exhibits re-

 ceived into evidence (Exhibits 1-13), including the specifically video recordings from Officer

 Borgmann’s and Deputy Ernestes’ vehicles that show in detail many of the events in question.

          1.     On April 5, 2011, the Proactive Criminal Enforcement (“PACE”) Team, a multia-

 gency team of law enforcement, was operating along Interstate 70 in Henry County, Indiana. As

 Deputy Ernestes explained in his testimony, PACE “proactively” uses traffic- and vehicle-code

 1
  Any finding of fact more properly characterized as a conclusion of law is so adopted, and vice
 versa.

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 enforcement to investigate suspected criminal activity involving vehicles traveling along the in-

 terstate, including narcotics interdiction.

         2.      At approximately 9:10 a.m., while parked in a paved crossover near the 126-mile

 marker on Interstate 70, Officer Borgmann saw a white Denali followed by a Maroon Scion,

 both traveling eastbound in the right-hand lane. He believed that the two vehicles were traveling

 unusually slowly, and together, given the clear weather conditions, the light traffic, and the sev-

 enty-mile-per hour speed limit.2

         3.      Officer Borgmann recalled having previously seen the two Ohio-plated vehicles

 earlier in the slow lane of a construction zone, while he was driving near the 115-mile marker.

 While passing the Denali, he had noticed the driver of the Denali had his hands at a rigid “10-

 and-2” position, with a female passenger in the front seat.

         4.      As the vehicles passed the crossover where he was now parked, Officer

 Borgmann noticed that the driver of the Denali was a black male, who was either still or again

 driving with his hands rigidly at the “10-and-2” position on the steering wheel. Although no

 other evidence confirmed it beyond the driver’s rigid body posture—for example, Officer

 Borgmann observed no erratic driving—Officer Borgmann’s report indicated, as did his testimo-

 ny, that the driver appeared fatigued.

         5.      Officer Borgmann’s vehicle was visible and, although unmarked, readily identifi-

 able as a police vehicle due to the lights on it.

         6.      Once the vehicles passed, Officer Borgmann’s laser indicated that the Denali was

 travelling at fifty-eight miles per hour and the Scion at sixty-two miles per hour. At no time dur-

 ing the events in question did either vehicle exceed the speed limit.

 2
  No evidence was presented that a minimum speed limit was established in the area, see Ind.
 Code § 9-21-5-8, or if one existed, that the vehicles traveled below it.

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        7.     After recording their speed, Officer Borgmann entered the interstate to catch up

 the vehicles. He requested that Deputy Ernestes, who had just pulled his police vehicle into the

 crossover, follow him.

        8.     Shortly thereafter, Officer Borgmann and Deputy Ernestes caught up to the Denali

 and the Scion and boxed them in as follows:



                                   Officer                     Denali
                                  Borgmann




                                                                Scion




                                                              Deputy
                                                              Ernestes




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        A. Officer Borgmann’s Stop of the Denali

                i. The Decision to Make the Stop

        9.      As Officer Borgmann’s cruiser approached the front bumper of the Denali, he was

 talking on his cell phone to Deputy Ernestes about what he was seeing, and attending to his com-

 puter, on which he had checked the Denali’s license plates.

        10.     At 09:13:34, Officer Borgmann’s cruiser was alongside the Denali, practically

 even with its front bumper. At that moment, he claims that he saw the Denali’s right tires drive

 “onto,” but not over, the fog line. [Ex. 6.]

        11.     The Court cannot credit that claim; it is too improbable. Officer Borgmann’s ve-

 hicle was lower than the Denali. From his viewing angle, alongside the Denali, it would have

 been impossible to have seen the location of the Denali’s right tires, or to have reasonably esti-

 mated their location. Furthermore, Officer Borgmann’s cell phone conversation with Deputy

 Ernestes does not mention that claimed perception about the Denali’s tires, meaning that no con-

 temporaneous verification of it exists. At best, Officer Borgmann’s subjective desire to justify

 pulling over the Denali to talk to its occupants may have caused him to later believe that he saw

 something that, based upon the evidence presented, he could not have.

        12.     Officer Borgmann then dropped back slightly. At 09:13:41, while travelling

 alongside the Denali at a speed in excess of 60 miles per hour, Officer Borgmann told Deputy

 Ernestes that he saw “gift-wrapped packages” with “tissue paper sticking up” in the back of the

 Denali. A later search of the Denali would reveal that there were no such packages.

        13.     In his report, and later in his testimony, Officer Borgmann would claim that he al-

 so saw a foot pressed up against the glass in the backseat, possibly indicating an unrestrained

 passenger. The Court must reject that claim as not established by a preponderance of the evi-



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 dence, as well. First, Officer Borgmann’s erroneous belief about the presence of visible gift-

 wrapped packages undermines the Court’s ability to credit his claimed ability to perceive events

 accurately, or even reasonably, while simultaneously driving at high speed into the bright morn-

 ing sun, while talking on his cell phone, and while both peering into tinted glass and maintaining

 control of his vehicle. Second, as with the earlier-claimed instance of observing the Denali’s tire

 cross onto the fog line, Officer Borgmann does not mention seeing a foot or possible unre-

 strained passenger while he is contemporaneously talking with Deputy Ernestes by cell phone.

        14.     At 09:14:06, Officer Borgmann, while still travelling alongside the Denali, told

 Deputy Ernestes that the people in the Denali looked “scared to death,” and “while it may be

 nothing” the two cars were “definitely together.”

        15.     As he made that comment, Officer Borgmann let the Denali further advance in the

 right lane by several car lengths. For several seconds, Officer Borgmann’s left tires drifted out

 of his lane and onto the ridged pavement that warns drivers when they are about to run off the

 highway.

        16.     At 09:15:33, Officer Borgmann moved his car into the right-hand lane, directly

 behind the Denali.

        17.     At 09:16:25, he believed that he saw the Denali’s right tires touch—but not

 cross—the fog line a second time. [See Ex. 6 at 1.] By contrast, almost immediately thereafter,

 Officer Borgmann himself actually crossed the right fog line, again driving onto the ridged

 pavement.

        18.     At 09:16:52, Officer Borgmann turned on his emergency lights, to signal the De-

 nali to pull over. The Denali did so immediately.




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         19.     When he pulled over the Denali, Officer Borgmann claimed that the Denali’s

 right tires had momentarily driven “onto” the white fog lines at 09:16:25. The videotape does

 not conclusively establish this fact. At most, it shows a fleeting touching of the line, and in no

 way does it support a finding or reasonable belief that the Denali somehow crossed the fog line

 and left the lane of travel.

                 ii.   Events During the Stop of the Denali

         20.     At 09:17:36, the driver of the Denali, a man named Kenneth Taylor, exited the

 vehicle onto the shoulder.

         21.     Mr. Taylor told Officer Borgmann that he was en route to his home in Dayton,

 Ohio, after having visited a friend named John in Chicago for a day and a half. Mr. Taylor de-

 nied travelling with any other vehicle. Mr. Taylor gave Officer Borgmann a Georgia license.

         22.     At 09:19:38, Deputy Ernestes, who had pulled over the Scion, told Officer

 Borgmann that a passenger in the Scion told him that the Scion was traveling with the vehicle

 (incorrectly called a “Tahoe”) that Officer Borgmann had pulled over.

         23.     After Officer Borgmann directed Mr. Taylor to Officer Borgmann’s patrol vehi-

 cle, Officer Borgmann went to the passenger side of the Denali. He tapped the front passenger

 window to request that the female passenger give him the vehicle registration. At that point, the

 rear passenger window lowered, and Officer Borgmann began talking with Defendant Aaron

 Holmes, who was seated there, while the front passenger looked for the registration.3

         24.     In the third-row of the Denali, Officer Borgmann saw Elisha Thompson lying flat

 on her stomach.


 3
  Further underscoring the unlikelihood that Officer Borgmann actually saw a foot in the window
 was his testimony that he did not know that anyone was seated in the second passenger row until
 Mr. Holmes’ window came down.

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           25.   Mr. Holmes told Officer Borgmann that they had gone up to Chicago see a sick

 cousin. Mr. Holmes became visibly nervous when Officer Borgmann asked him which hospital

 they visited and how he knew Mr. Taylor.

           26.   At approximately 9:25 a.m., Officer Borgmann returned to his vehicle with Mr.

 Holmes’ identification. The female passengers had no identification.

           27.   Officer Borgmann attempted to use his computer to check Mr. Taylor’s driver’s

 license and Mr. Holmes’ identification.

           28.   Officer Borgmann was unsuccessful in running Mr. Taylor’s license, despite re-

 peated attempts. Consequently, he called dispatch, at approximately 9:35 a.m., for assistance

 running the license.

           29.   While Officer Borgmann was unsuccessfully attempting to run Mr. Taylor’s li-

 cense, Mr. Taylor was very nervous in the back seat, developing cotton mouth and repeatedly

 attempting to spit out the window. Mr. Taylor was unable to name the registered owner of the

 Denali.

           30.   At approximately 9:40 a.m., dispatch informed Officer Borgmann that Georgia

 had an outstanding warrant for Mr. Taylor, but one for which Georgia would not extradite. Dis-

 patch also advised that the Georgia license files were down, so dispatch could not confirm the

 validity of Mr. Taylor’s license.    Shortly thereafter, Deputy Ernestes called to tell Officer

 Borgmann that he had discovered a rechargeable drill in the back seat of the Scion.

           31.   At 9:41 a.m., Officer Borgmann used his in-car computer to issue a warning to

 Mr. Taylor about Indiana Code § 9-21-8-11, which was the first auto-populated choice that the

 computer generated after his search “unsafe lane movement.” The second option presented, but

 which he did not scroll down to see, was for Indiana Code § 9-21-8-24.



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          32.    The computer screen only provided the code citation and the first few words of

 the title. The screen did not show the full text of the statute.

          33.    After handing the warning to Mr. Taylor, at approximately 9:45 a.m., Officer

 Borgmann read Mr. Taylor Miranda warnings and questioned him about the possibility of con-

 trolled substances being in the car, which Mr. Taylor denied.

          34.    At 9:50 a.m., Officer Borgmann retrieved his certified drug-sniffing dog from the

 back of the patrol car and had the dog conduct an open-air sniff around the Denali. The dog

 alerted twice at the rear of the Denali and once at the driver’s side door.

          35.    At 9:51 a.m., Officer Borgmann returned the dog to the patrol car.

          36.    With the assistance of the recently arrived Officer Glover, Officer Borgmann

 conducted a search of the vehicle, reasonably and in good faith believing that it contained illegal

 drugs.

          37.    The search revealed that one kilogram of heroin was secreted in the center speak-

 er of the vehicle.

          38.    No gift-wrapped packages were found.

          39.    At approximately 10:09 a.m., Officer Borgmann placed Mr. Taylor and all the

 Denali’s passengers under arrest, including Mr. Holmes.

          40.    At 3:07 p.m., well after Mr. Holmes and his passengers had been taken to pro-

 cessing, Officer Borgmann issued a written warning to Ms. Thompson, for having not worn her

 seatbelt as required by Indiana Code § 9-19-10-2.4

          B. Deputy Ernestes’ Stop of the Scion

                 i. The Decision to Make the Stop

 4
  The fact that the warning was issued so late also reinforces the Court’s rejection of Officer
 Borgmann’s testimony that he saw a foot in the glass prior to the stop.

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           41.    As Deputy Ernestes approached the Scion in the left lane, he saw the Scion fol-

 lowing between fifty to seventy-five feet behind the Denali, even though the Scion was traveling

 at approximately sixty miles per hour. At that speed and following distance, the Scion had less

 than two seconds of braking time to the Denali, a distance unreasonably and unsafely close under

 the circumstances.5

           42.    To the extent, if any, that the affidavit of Cordell Adams, the driver of the Scion,

 can be read to suggest that the distance between the Denali and the Scion was always a safe one,

 [see dkt. 88-1, ¶¶5-6], the Court rejects that claim.6

           43.    At 09:14:52, Deputy Ernestes turned on his emergency lights, to pull over the

 Scion. The Scion immediately pulled over. Because it was unsafe to conduct a traffic stop next

 to a guardrail, Deputy Ernestes had the Scion pull forward slightly.

                  ii. Events During the Stop of the Scion

           44.    At 09:15:35, Deputy Ernestes exited his patrol car and motioned for Mr. Adams

 to exit the Scion, too. Mr. Adams complied.

           45.    When Deputy Ernestes told Mr. Adams the reason for the stop—i.e. following too

 closely—Mr. Adams apologized.

           46.    Mr. Adams told Deputy Ernestes that he was returning from Chicago to Dayton

 after having gone to see his sick grandmother. He denied travelling with another vehicle. He

 also told Deputy Ernestes that he did not have a license on him, having left it at home. He was

 only driving because the current passenger, Defendant John Peters, had become tired.



 5
     A vehicle traveling at sixty miles per hour travels eighty-eight feet per second.
 6
   Adams did not appear at the hearing. He was thus unavailable for cross-examination and for
 the Court to have an opportunity to observe him as he testified. In any event, the videotape es-
 tablishes that the Scion was in fact travelling too closely.

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        47.     At 9:17 a.m., Deputy Ernestes approached the passenger side of the Scion to re-

 quest identification and the vehicle’s registration.

        48.     Deputy Ernestes was immediately confronted with the odor of burnt marijuana.

 On Mr. Peters’ lap, Deputy Ernestes saw small green particles that reasonably and in good faith

 appeared to Deputy Ernestes, based upon his training and experience, to be bits of marijuana.

        49.     After asking for identification and telling Mr. Peters that he had marijuana on his

 lap, Mr. Peters claimed that the particles were from a Black & Mild.

        50.     At 09:17:56, Deputy Ernestes reached his hand through the window to pick up

 one of the particles. Based upon closer visual inspection, Deputy Ernestes confirmed that the

 substance was marijuana.

        51.     In response to a question from Deputy Ernestes, Mr. Peters told Deputy Ernestes

 at 9:18 a.m. that the Scion had been travelling with the white vehicle that Officer Borgmann had

 pulled over.

        52.     At 9:21 a.m., Deputy Ernestes told Mr. Peters that he was going to search the ve-

 hicle given the marijuana smell. Mr. Peters exited the Scion and, having answered in response to

 questioning that he had been previously arrested for carrying a concealed weapon, was hand-

 cuffed for Deputy Ernestes’ safety. Another officer who had arrived on the scene put Mr. Adams

 in handcuffs and put Mr. Adams in the officer’s patrol car.

        53.     A pat-down search of Mr. Peters revealed a large bulge in his pocket, which

 turned out to be more than $2,500 in cash.

        54.     After putting Mr. Peters in the patrol car, at approximately 9:24 a.m., Deputy

 Ernestes went to the other officer’s car to give Mr. Adams Miranda warnings and to question

 him further.



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        55.     At approximately 9:30 a.m., Deputy Ernestes gave Mr. Peters Miranda warnings

 and questioned him further.

        56.     At approximately 9:38 a.m., the search of the Scion began.

        57.     Among other things, Deputy Ernestes found what reasonably appeared to be a

 marijuana stem in the front passenger compartment and a rechargeable drill in the rear of the ve-

 hicle. Additionally, when the upper sunglass-storage compartment was removed, the resulting

 void had a strong odor of marijuana. The holder appeared suspicious because it did not have fac-

 tory screws and had stress fractures.

                                         CONCLUSIONS OF LAW

        Because a traffic stop constitutes a “seizure” under the Fourth Amendment, it is “subject

 to the constitutional imperative that it not be ‘unreasonable’ under the circumstances.” Whren v.

 United States, 517 U.S. 806, 810 (1996). That reasonableness requirement extends not only to

 the initial stop, but also to its length. See Illinois v. Caballes, 543 U.S. 405, 407 (2005) (“[A]

 seizure that is lawful at its inception can violate the Fourth Amendment if its manner of execu-

 tion unreasonably infringes interests protected by the Constitution. A seizure that is justified

 solely by the interest in issuing a warning ticket to the driver can become unlawful if it is pro-

 longed beyond the time reasonably required to complete that mission.” (citation omitted)). The

 products of an unconstitutional search are subject to suppression. See, e.g., United States v.

 Calandra, 414 U.S. 338, 348 (1974). Before considering the initial validity of the stops and

 whether they were unreasonably long, however, the Court must first consider the scope of each

 Defendant’s rights under the Fourth Amendment. That latter inquiry is commonly, though per-

 haps technically incorrectly, termed an inquiry into “standing.” See United States v. Crowder,

 588 F.3d 929, 934 n.5 (7th Cir. 2009) (“[A]lthough our court has explicitly recognized the Su-



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 preme Court’s move away from standing doctrines …, we have continued to use the word ‘stand-

 ing’ in the context of Fourth Amendment rights as shorthand to refer to a defendant’s ability to

 challenge a search or seizure based on a reasonable expectation of privacy in the property.” (ci-

 tations omitted)).

         A. Scope of the Defendants’ Rights Under the Fourth Amendment

         When law enforcement conducts a traffic stop of a vehicle, both the driver of the vehicle

 and its passengers may challenge the legality of the stop. Brendlin v. California, 551 U.S. 249,

 251 (2007). Accordingly, as passengers in the respective vehicles, Mr. Holmes can challenge the

 stop of the Denali, and Mr. Peters can challenge the stop of the Scion.

         Unlike Mr. Holmes, [dkt. 153 at 10], Mr. Peters contends that because the Scion and the

 Denali were travelling together, the occupants of each vehicle can challenge the search of the

 other vehicle, too, [dkt. 151 at 6-7]. Neither Mr. Peters nor the Government could direct the

 Court to any authority directly on point. Nonetheless, the Court’s own research has revealed au-

 thority from the Seventh Circuit that, by analogy, requires the Court to reject Mr. Peters’ claim.

 If absent owners of vehicles cannot challenge the search of their vehicles because “the intrusion

 a vehicle stop causes is personal to those in the car when it occurs,” United States v. Powell, 929

 F.2d 1190, 1195 (7th Cir. 1991), mere passengers in a separate vehicle in a convoy would like-

 wise lack the ability to raise a constitutional claim about the stopped vehicle.

         The Court will, therefore, only analyze the propriety of the search of the Denali vis-à-vis

 Mr. Holmes, and the search of the Scion vis-à-vis Mr. Peters. The Court’s ruling on one will not

 affect its ruling on the other.

         B. Initial Validity of the Stops




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        Where, as here, a warrantless seizure occurred—i.e. the stop of the vehicles traveling

 along the interstate—the Government bears the burden of proving compliance with the Fourth

 Amendment, by a preponderance of the evidence. United States v. Garcia-Garcia, 633 F.3d 608,

 612 (7th Cir. 2011) (citation omitted).

        If probable cause exists “to believe that a traffic violation has occurred,” even a minor

 one, the Fourth Amendment authorizes a warrantless traffic stop. Whren, 517 U.S. at 810 (cita-

 tions omitted). Probable cause requires “a reasonable belief that a law has been broken.” United

 States v. McDonald, 453 F.3d 958, 961 (7th Cir. 2006). That inquiry is an objective one. Whren,

 517 U.S. at 813; Scott v. United States, 436 U.S. 128, 138 (1978) (“[T]he fact that the officer

 does not have the state of mind which is hypothecated by the reasons which provide the legal

 justification for the officer’s action does not invalidate the action taken as long as the circum-

 stances, viewed objectively, justify that action.”). The probable-cause inquiry has two steps:

 First, determine what facts the officer knew at the time of the traffic stop, and, second, “decide

 whether a reasonable officer could conclude that these facts amount to a violation of the law.”

 Garcia-Garcia, 633 F.3d at 613. Unreasonable mistakes of fact cannot support probable cause.

 MacDonald, 453 F.3d at 962 (“When an officer makes a stop based on a mistake of fact, we ask

 only whether the mistake was reasonable.” (emphasis omitted)). By contrast, mistakes of law,

 reasonable or otherwise, can never support probable cause. Id. (“[T]he correct question is

 whether a mistake of law, no matter how reasonable or understandable, can provide the objec-

 tively reasonable grounds for providing reasonable suspicion or probable cause. The answer is

 that it cannot.” (quotation omitted)).

        The Fourth Amendment also permits a warrantless traffic stop in another circumstance.

 “[P]olice may conduct a brief, investigatory traffic stop if they have reasonable suspicion based



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 on articulable facts that a crime is about to be or has been committed. A stop and search can be

 reasonable even if the defendant did not actually commit an offense as long as the officer reason-

 ably believed an offense occurred.” United States v. McDonald, 453 F.3d 958, 960 (7th Cir.

 2006) (citations omitted). Reasonable suspicion requires “some objective manifestation that the

 person stopped is, or is about to be, engaged in criminal activity. It is something less than prob-

 able cause and more than a hunch.” United States v. Swift, 220 F.3d 502, 506 (7th Cir. 2000)

 (quotation and citations omitted). In determining whether reasonable suspicion exists, “courts

 must examine the totality of the circumstances known to the officer at the time the stop is

 made.” United States v. Johnson, 383 F.3d 538, 542 (7th Cir. 2004) (citation omitted).

        With those standards in mind, the Court will examine whether the Fourth Amendment au-

 thorized Officer Borgmann’s traffic stop of the Denali. Next, the Court will turn to Deputy

 Ernestes’ stop of the Scion.

                1. The Denali

        With respect to identifying the facts that Officer Borgmann knew at the time of his traffic

 stop of the Denali, the Court has made specific findings of fact above. In summary and regard-

 ing the Denali, Officer Borgmann saw Mr. Taylor, a black male, driving the Denali with Ohio

 plates, slightly below the speed limit, with arms in the “10-and-2” position commonly taught in

 many drivers’ education courses. These observations occurred at a time when Mr. Taylor was

 likewise able to observe that he was in the presence of a police vehicle and, if common experi-

 ence is any guide, likely sought to take extra care to comply with traffic laws. Upon continued

 observation of the vehicle, all visible occupants appeared restrained, and the Denali continuously

 drove within its lane, perhaps approaching—at worst fleetingly touching, but never crossing—

 the white fog lines on the right-side of the interstate. Officer Borgmann also reasonably believed



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 that the Denali was travelling with the Scion, which was following it, also had Ohio plates and

 was being driven by another black male.

        Turning to step two in the analysis, the Government has asserted, [dkt. 150 at 11-12], that

 probable cause existed for violations of three Indiana laws: Indiana Code §§ 9-19-10-2; 9-21-8-

 11; and 9-21-8-24. The Court will discuss each in turn.

        Indiana Code § 9-19-10-2 requires every occupant in a vehicle to “have a safety belt

 properly fastened about the occupant’s body at all times when the vehicle is in forward motion.”

 Because the Court has rejected the only evidence submitted to support a belief that anyone was

 not properly restrained—Officer Borgmann’s claim that he saw a foot in the window—probable

 cause did not exist to believe a violation of this statute had occurred. MacDonald, 453 F.3d at

 962.

        The second statute potentially at issue is Indiana Code § 9-21-8-11. Among other things,

 it requires that drivers on roadways with three or more lanes, like Interstate 70, “drive[] as nearly

 as practicable entirely within a single lane.” Ind. Code § 9-21-8-11(1). While the Government

 argues that probable cause existed because Officer Borgmann saw the Denali cross the fog line,

 [see dkt. 150 at 12], Officer Borgmann believed, at most, that the Denali’s tires only drove “on-

 to” the fog line, [Ex. 5 at 1.] Thus that portion of the Government’s argument is inconsistent

 with its own evidence.

        To the extent that the Government argues that probable cause existed because, on one oc-

 casion, Officer Borgmann might have reasonably believed that the Denali momentarily and

 slightly touched the fog line, that argument fails as a matter of law. The statute commands only

 that drivers drive “as nearly as practicable within” the lane. While no Indiana case has ad-

 dressed whether briefly touching a fog line violates the statute, courts in other jurisdictions have



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 interpreted similarly worded statutes, and have rejected the Government’s argument. See United

 States v. Colin, 314 F.3d 439, 444 (9th Cir. 2002) (collecting cases holding that momentarily

 touching but not crossing a dividing line does not violate a statute requiring that a driver drive as

 “nearly as practical entirely within a single lane.” (emphasis omitted)). In opposition to those

 cases, the Government has collected cases of its own. Those cases are, however, irrelevant.

 They involve fact patterns involving “erratic” driving across one or both fog lines, United States

 v. Rogers, 387, F.3d 925, 934 n.9 (7th Cir. 2004); United States v. Quinones-Sandoval, 943 F.2d

 771, 774 (7th Cir. 1991); or “partially swerving off the roadway,” United States v. Fiala, 929

 F.2d 285, 288 (7th Cir. 1991). No such behavior occurred here. Accordingly, in construing this

 statute, the Indiana Supreme Court would likely agree with the reasoning of the cases holding

 that merely and briefly touching a fog line comports with the plain meaning of the legislative

 command to drive “as nearly as practicable” within the lane. Clifft v. Ind. Dep’t of State Reve-

 nue, 660 N.E.2d 310, 316 (Ind. 1995) (“We ascertain and implement legislative intent by giving

 effect to the ordinary and plain meaning of the language used in the statute.” (quotation omit-

 ted)). This Court must, therefore, do so, too. E.g., McDonald, 453 F.3d at 960 (citation omit-

 ted).

         As for the third statute potentially at issue, it prohibits, among other things, changing

 from one “traffic” lane into another “unless the movement can be made with reasonable safety.”

 Ind. Code § 9-21-8-24(3). Assuming without deciding that the right shoulder constitutes a “traf-

 fic lane” for the purposes of the statute, the evidence presented at the hearing establishes that the

 Denali’s travel was, at all times relevant here, completely safe to the occupants and to the public

 at large. Indeed, the Denali’s driving was significantly more safe than that of Officer Borgmann,

 who was both talking on his cell phone and using his computer while driving, who was veering



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 out of this lane across the fog lines and onto the ridged pavement, and who at times traveled sig-

 nificantly faster than the Denali. It would be highly unreasonable for any observer to conclude

 that the Denali’s movements vis-à-vis the fog line—whether toward or onto it—were unsafe.

 Accordingly, no probable cause existed for a violation of Ind. Code § 9-21-8-24(3).

        Having found no probable cause to believe that any traffic violation occurred, the Fourth

 Amendment will require suppression absent “reasonable suspicion based on articulable facts that

 a crime is about to be or has been committed,” McDonald, 453 F.3d at 960 (citations omitted).

 The Court notes that the Government makes no argument in this regard in its post-hearing brief,

 [see dkt. 150 at 11], apparently because the facts as established at the hearing would not support

 its application. The Court agrees. At best, Officer Borgmann had a hunch that the occupants of

 the Denali were involved in illegal drug trafficking. But the Denali’s safe operation—from its

 speed, to its lane control, to the driver’s driving posture—gave no reasonable basis to believe

 that the hunch would be correct before the stop. Nor did the fact that two out-of-state cars were

 driving together on the highway, as many families do when traveling together. Accordingly, rea-

 sonable suspicion was also not present.

        Because neither probable cause nor reasonable suspicion existed so as to justify the stop

 of the Denali, the Court will grant Mr. Holmes’ motion to suppress. The Government may not

 admit into evidence, as to Mr. Holmes only, the products of the search of the Denali and the

 questioning of its occupants.

                2. The Scion

        As indicated above, and with respect to the first step of the two-step analysis, the Court

 has already found that Deputy Ernestes observed the Scion traveling with less than two seconds

 of braking distance behind the Denali.



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        Moving to step two, Indiana law provides: “A person who drives a motor vehicle may

 not follow another vehicle more closely than is reasonable and prudent, having due regard for the

 speed of both vehicles, the time interval between vehicles, and the condition of the highway.”

 Ind. Code § 9-21-8-14. Probable cause to believe that a driver has followed another too closely

 exists when the distance between the two vehicles is under two seconds’ travel. See United

 States v. Muriel, 418 F.3d 720, 724 (7th Cir. 2005) (holding that “the ‘two-second rule’ as a

 guide for reasonableness comports with Indiana law” at least for the purposes of establishing

 probable cause to believe a violation of Ind. Code § 9-21-8-14 has occurred).

        Because the Scion was less than two seconds behind the Denali, probable cause existed to

 authorize the traffic stop under the Fourth Amendment. It makes no difference under the Fourth

 Amendment—the only constitutional claim asserted—whether the stop were pretextual, as Mr.

 Peters claims, [dkt. 151 at 3]. Whren, 517 U.S. at 813 (collecting cases that “foreclose any ar-

 gument that the constitutional reasonableness of traffic stops depends on the actual motivations

 of the officers involved” and explaining that “the constitutional basis for objecting to intentional-

 ly discriminatory application of the laws is the Equal Protection Clause, not the Fourth Amend-

 ment”).

        Two other arguments merit brief mention, though neither can prevail. First, insofar as

 Mr. Peters argues that Deputy Ernestes required, but lacked, reasonable suspicion to follow the

 Scion on a public interstate in the first instance, [see dkt. 151 at 2-3], that claim has no support in

 the case law, United States v. Knotts, 460 U.S. 276, 281 (1983) (“A person traveling in an auto-

 mobile on public thoroughfares has no reasonable expectation of privacy in his movements from

 one place to another.”). Second, insofar as Mr. Peters’ counsel suggested during her cross-

 examination that Deputy Ernestes’ approach behind the Scion essentially pushed the Scion closer



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 to the Denali, the failure to press that argument in the post-hearing briefing means it “is waived

 due to lack of development,” Kawasaki Heavy Indus. v. Bombardier Rec. Prods., 660 F.3d 988,

 994 (7th Cir. 2011) (citation omitted). Furthermore, nothing in the record foreclosed two obvi-

 ously safer alternatives to travelling so closely behind the Denali: braking or moving into the

 left-hand lane. Accordingly, the Court rejects both arguments.

        C. Continuing Validity

        The Court’s finding that the Fourth Amendment did not authorize the initial stop of the

 Denali necessarily moots consideration of its scope or length of the stop.7 In contrast, because

 the stop of the Scion was constitutionally permissible—thereby allowing its passenger, Mr. Pe-

 ters, to be placed in custody—the Court must consider whether the custody remained permissible

 through its conclusion. See, e.g., United States v. Childs, 277 F.3d 947, 952 (7th Cir. 2002) (en

 banc) (“Childs was placed in custody by the stop of the car in which he was a passenger. That

 custody’s nature and duration must be ‘reasonable’ under the fourth amendment, so we must

 consider the possibility, not that each question is a ‘seizure,’ but that questioning may render the

 physical detention unreasonable.”).

        The Court finds that Mr. Peters has no valid basis to object to the length of the traffic stop

 because he was properly placed under arrest approximately seven minutes after the stop began.



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   The Court would note that, had the initial stop of the Denali been authorized, the facts as estab-
 lished at the hearing demonstrate that the stop was not unreasonably long under the circumstanc-
 es, for the reasons set forth in the Government’s post-hearing brief, [dkt. 150 at 15-16]. In par-
 ticular, Officer Borgmann’s inability to validate Mr. Taylor’s driver’s license, together with the
 contradictions between Mr. Taylor’s and Mr. Holmes’ statements justified further investigation.
 Officer Borgmann’s use of his drug-detection dog to perform a brief, open-air sniff to help his
 investigation did not violate the Fourth Amendment. Caballes, 543 U.S. at 409 (“[T]he use of a
 well-trained narcotics-detection dog—one that does not expose noncontraband items that other-
 wise would remain hidden from public view—during a lawful traffic stop, generally does not
 implicate legitimate privacy interests.” (quotation omitted)). The results of that dog sniff estab-
 lished probable cause to immediately search the vehicle.
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 Mr. Adams had neither a license nor insurance card with him when he exited the Scion (and in

 fact later investigation would reveal that Mr. Adams had a suspended license). When Deputy

 Ernestes approached Mr. Peters, sitting in the passenger seat, to ask for the paperwork in the

 glove box, Deputy Ernestes smelled burnt marijuana and saw green leaves on Mr. Adams’ lap,

 which upon physical inspection appeared to be marijuana. Those facts alone authorized Deputy

 Ernestes to immediately arrest Mr. Peters for possession of marijuana and to search the Scion.

 See United States v. Cherry, 436 F.3d 769, 772 (7th Cir. 2006) (collecting cases holding that law

 enforcement may conduct a warrantless search of a vehicle that smells of marijuana); United

 States v. Price, 2008 U.S. Dist. LEXIS 24945, *10 (N.D. Ga. Mar. 28, 2008) (“[T]he officer no-

 ticed a strong odor of marijuana and, looking inside the car, observed marijuana in the ashtray….

 [T]his observation of marijuana … provided the officer with probable cause to arrest the defend-

 ant and then to search the car….”). Deputy Ernestes did so.

         Because Mr. Peters makes no claim that any unconstitutional delay occurred between the

 moment of Mr. Peters’ arrest and his transport to booking, [see dkt. 151 at 5-6], nor claims that

 seven minutes was unreasonably long to effectuate the arrest, [see id.], the Court finds that the

 Fourth Amendment was not offended when Mr. Peters was arrested upon probable cause during

 a lawful traffic stop for possessing a controlled substance. His motion to suppress must, there-

 fore, fail in its entirety.

                                            CONCLUSION

         Mr. Holmes’ motion to suppress, [dkt. 117], is GRANTED. The Government may not

 admit into evidence, as to Mr. Holmes only, the products of the search of the Denali and the

 questioning of its occupants. The Government and Mr. Holmes’ counsel are ordered to confer

 within two days about the impact of the Court’s ruling on Mr. Holmes’ continued detention and

 to file a status report with the Court after the conclusion of that conference.
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       Mr. Peters’ motion to suppress, [dkt. 114], is DENIED.


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                                                                Hon. Jane Magnus-Stinson, Judge
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                                                                Southern District of Indiana

 Melanie C. Conour
 UNITED STATES ATTORNEY'S OFFICE
 melanie.conour@usdoj.gov

 Dorothy Ann Maryan
 GILROY KAMMEN & HILL
 doriehertzel@gmail.com

 Richard Kammen
 GILROY KAMMEN & HILL
 richard@kammenlaw.com

 Belle Choate
 CHOATE & HAITH
 choate@iquest.net




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